                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA

TERESA BUCHANAN                                      CIVIL ACTION

VERSUS
                                                     NUMBER: 3:16-cv-00041-SDD-EWD
F. KING ALEXANDER,
DAMON ANDREW, A.G. MONACO AND
GASTON REINOSO

                 SUPPLEMENTAL MEMORANDUM IN SUPPORT OF
                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      F. King Alexander, Damon Andrew, A.G. Monaco and Gaston Reinoso

(collectively “Defendants”), in their personal and official capacities, submit this

Supplemental Memorandum in Support of Defendants’ Motion for Summary Judgment

to present additional evidence Exhibit G through L in support of the arguments II(C)(3),

(D) and (E) made in the Memorandum in Support of Defendants’ Motion for Summary

Judgment (Doc. 30) urging this Court to enter a summary judgment dismissing the

Complaint (Doc. 1) of Teresa Buchanan (“Plaintiff”) with prejudice at Plaintiff's cost

including reasonable attorney fees on the following grounds: 1) the Eleventh

Amendment grants state officials sovereign immunity; 2) state officials are not persons

as defined by 42 U.S.C. §1983; 3) Defendants, in their personal capacities, are entitled

to qualified immunity; 4) Plaintiff lacks standing to assert claims on behalf of LSU

students and/or faculty; 5) Plaintiff’s speech is not protected by the First Amendment; 6)

an evidentiary hearing before a faculty committee complies with the Fourteenth

Amendment’s due process requirements for termination of a tenured employee; 7)

Defendants in their personal capacities lack authority to grant the declaratory or

injunctive relief Plaintiff seeks; and 8) the Complaint fails to state any claim upon which




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relief can be granted by Defendants.

       Alternatively, and only in the event this Honorable Court determines Plaintiff has

standing and has asserted any claim for relief not barred by the Eleventh Amendment or

by qualified immunity, then Damon Andrew, A.G. Monaco and Gaston Reinoso, in their

personal and official capacities, are entitled to summary judgment dismissing the claims

against them which are time-barred with prejudice at Plaintiff's cost including reasonable

attorney fees.

       Claims barred by sovereign immunity, qualified immunity or time-barred or

brought by an individual who lacks standing are without foundation and unreasonable

entitling Defendants to recover reasonable attorney fees pursuant to 42 U.S.C.

§1988(b) for the defense of any dismissed claim.

II.    SUPPLEMENTAL LAW AND ARGUMENT

C.     Defendants in their individual capacities are entitled to qualified immunity.

       3.     Plaintiff cannot prove defendants did not perform discretionary
              duties in a reasonable manner.

       Interim Associate Dean Jennifer Curry testified that two of Dr. Buchanan’s

students requested to meet with her to discuss complaints regarding Dr. Buchanan’s

behavior in the classroom. Student 1 complained that she was offended by Dr.

Buchanan’s comments about sexual relationships directed toward Student 1’s

relationship with her fiancé. Student 1 stated she was humiliated by Dr. Buchanan’s

inferences about Student 1’s relationship made in front of her classmates. Student 1

told Dr. Curry,

              Dr. Buchanan had offered them condoms, had told them it
              was unacceptable to become pregnant. And that if you
              chose to become a mother, that your grades would suffer for
              that. She told them … enjoy the sex while the sex is – good.



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                 If you’re dating – if you’re dating, make sure the sex is good,
                 something along those lines. 1

Student 1 was particularly offended when Dr. Buchanan responded to Student 1’s

comment that her fiancée was very supported by saying “yeah, he’s supportive now

while the sex is good, but just wait until you’re married for five years.” Dr. Curry testified

that Student 1 said, “I don’t know who she is to make these assumptions about me, and

to say it in front of a room full of people.”2

        Additionally, Student 1 reported that “Dr. Buchanan had recorded a student

crying during one of these assessment team meetings. And had played it back for the

student.”3 Student 2 complained that Dr. Buchanan had intimidated and demeaned her

by video recording her during an assessment team meeting. Student 2 told Dr. Curry:

                 during her assessment team meeting, she began to cry. She said
                 that Dr. Buchanan was yelling at her. And that when she started to
                 cry, Dr. Buchanan got out her cell phone and did not ask her, but
                 started to record her crying and then played it back for her, she
                 said, look at yourself, look at yourself, you need to check yourself in
                 somewhere and get help, get a break. 4

Dr. Curry testified that Student 2 told her “multiple thing about that meeting, she said it

was mortifying.” 5 Student 2 reported to Dr. Curry that:

              Terry was extremely aggressive during this assessment team
              meeting. She said every time she tried to talk, Terry would say,
              shut up, you’re not listening, be quiet, be quiet, like screaming at
              her, very aggressive. She said it was more than intimidating. Like
              she felt attacked, fearful. 6
        Dr. Curry testified that she reported the student complaints to Dean Andrew who

requested a meeting with Dr. Cheek, Director of the College of Education, regarding the


1
  Curry Depo., p. 69, ll. 3-10, (Exhibit G)
2
  Curry Depo., p. 71, ll. 21-24
3
  Curry Depo., p. 69, ll. 14-16
4
  Curry Depo., p. 70, ll. 11-22
5
  Curry Depo., p. 70, ll. 22-23
6
  Curry Depo., p. 72, ll. 6-12



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complaints. Dr. Cheek advised that 10-12 students came to his office with similar

complaints about Dr. Buchanan’s behavior and her “talking about sex.” 7

        Additionally, Dr. Cheek indicated that school administrators had requested that

Dr. Buchanan not mentor students on their campuses. Dr. Cheek advised that he

related the complaints to former Dean Lindsay and to Human Resources but was told

that nothing could be done since Dr. Buchanan was tenured. 8 Dean Andrew requested

Dr. Curry to gather any available information regarding prior complaints. While gathering

information concerning complaints, Dr. Curry was contacted by Dr. Cancienne,

Superintendent for Iberville Parish Schools who advised that Dr. Buchanan was no

longer authorized to be on any school campus in Iberville Parish. 9

        After gathering additional evidence, Dr. Curry and Dean Andrew sought

assistance from Human Resources to determine what to do about the complaints and

information gathered regarding Dr. Buchanan. 10 Gaston Reinoso interviewed witnesses

and reported his findings to Dean Andrew. Dean Andrew recommended to Provost Bell

appointment of a PS-104 faculty committee. The PS-104 committee conducted a 12

hour hearing. During the 12 hour hearing numerous witnesses testified regarding Dr.

Buchanan’s classroom behavior including Dr. Buchanan’s friend Karen Donnelly.

        During her deposition, Ms. Donnelly, an adjunct instructor in the PK-3 Program

reported her concerns to Dr. Cheek about Dr. Buchanan’s behavior in Zachary

Community School System. During her deposition, Ms. Donnelly confirmed that she

reported Dr. Buchanan’s behavior to the Director of the College of Education, Dr.


7
  Curry Depo, p. 80, ll. 5-15
8
  Curry Depo, p. 81, ll. 10-14
9
  Curry Depo., p. 100, ll. 7-21
10
   Curry Depo., p. 148, ll. 2-12



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Cheek, because Dr. Buchanan’s behavior “was threatening our program, and Zachary is

our best placement.”11 Ms. Donnelly further explained that Zachary is “the number one

school district in the state, and they have been ever since they became a school district,

and they’re developmentally appropriate in the early grade where we have our

students.”12 Ms. Donnelly stated that Zachary schools were a preferred placement and

in fact at one point, all of the student teachers were placed in Zachary Schools. 13

        Ms. Donnelly confirmed in her deposition that she observed Dr. Buchanan use

profanity in the classroom 14 and heard remarks the students complained about. Ms.

Donnelly also confirmed complaints regarding Dr. Buchanan from four elementary

school officials resulting in Dr. Buchanan not mentoring students in more than four

different schools. Ms. Donnelly acknowledged that the Zachary Community School

System (“Zachary”) requested that Dr. Buchanan not mentor students in Zachary

schools, 15 Dr. Buchanan told her the LSU Lab School complained about Dr. Buchanan’s

behavior, 16 and Dr. Cheek questioned her about a complaint from the West Baton

Rouge Parish School System about an incident at Port Allen Elementary where Dr.

Buchanan offended the secretary. 17 In response to the complaint Dr. Cheek decided “to

not have Dr. Buchanan return to Port Allen Elementary.” 18 Ms. Donnelly also confirmed

that the Superintendent of Iberville Parish Schools had complained about Dr.

Buchanan’s comments during an assessment team meeting. 19


11
   Donnelly Depo. p. 74, ll. 4-7, (Exhibit H)
12
   Donnelly Depo. p. 74, ll. 8-14
13
   Donnelly Depo. p. 74, ll. 18-22
14
   Donnelly Depo. p. 64, ll. 16-18
15
   Donnelly Depo. p. 13, ll. 10-13
16
   Donnelly Depo. p. 14, ll. 1-10
17
   Donnelly Depo. p. 70, ll. 11-25 through p. 71, ll. 1-5
18
   Donnelly Depo. p. 71, ll. 6-13
19
   Donnelly Depo. p. 14, ll. 22-25 through p. 15, ll. 1-7



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        Ms. Donnelly confirmed that Mr. Reinoso accurately reported that “Dr. Buchanan

typically makes comments” about the quality of sex because “that is how she is.” 20 Ms.

Donnelly further explained Dr. Buchanan, “doesn’t have a filter. She just doesn’t realize

what sometimes she says, and how it sounds.” 21 Ms. Donnelly admitted that Dr.

Buchanan’s statements could be offensive to the listeners. 22

        Ms. Donnelly confirmed that she was present when Dr. Buchanan spoke to her

student about using condoms “so they wouldn’t get pregnant” while in the program. 23

Additionally, Ms. Donnelly testified that she was present when Dr. Buchanan told a

student in an assessment meeting “that the sex is good now, but just wait until later.” 24

Ms. Donnelly stated that she believed Dr. Buchanan’s behavior “has not gotten worse

than it’s always been.” 25

        Dr. Cancienne, who was not interviewed by Gaston Reinoso or called to testify at

the PS-104 hearing but was deposed by Dr. Buchanan’s counsel, confirmed that he

requested that Dr. Buchanan not return to Iberville Parish Schools. Dr. Cancienne

testified he was concerned about the disruption her presence was having in the

school.”26 Dr. Cancienne was advised that Dr. Buchanan’s,

                 statements and her inferences upset the faculty at the site so much
                 so that the chief academic officer was very upset and said, you
                 need to do something about this, superintendent. She is wrecking
                 my school. She’s bringing it down. She is hurting my culture. She’s
                 hurting our objectives.” 27



20
   Donnelly Depo. p. 63, ll. 4-8
21
   Donnelly Depo. p. 75, ll. 22-25 through p. 76, ll. 1-3
22
   Donnelly Depo. p. 76, ll. 4-6
23
   Donnelly Depo. p. 79, ll. 3-18
24
   Donnelly Depo. p. 41, ll. 22-25 through p. 42, ll. 1-7; p. 79, ll. 20-23
25
   Donnelly Depo. p. 80, ll. 20-23
26
   Cancienne Depo. p. 99, ll. 21-23, (Exhibit I)
27
   Cancienne Depo. p. 99, ll. 2-9



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           The actions of Dr. Buchanan reported to Dean Andrew clearly warranted

investigation. The investigation report of Gaston Reinoso approved by A.G. Monaco

was turned over to a PS-104 committee composed of faculty members who

unanimously found that Dr. Buchanan violated LSU’s harassment policies. Chancellor

Alexander’s recommendation of termination in order to protect students was clearly

reasonable in light of the faculty committee’s findings. Chancellor Alexander testified

that his “primary concern is for the health and welfare of those students that are being

subjected to that type of … classroom action and harassment and the concerns that

they expressed to their Dean. And the colleagues that they expressed their concerns to

their Dean.”28 Chancellor Alexander testified that he “felt that we had to do something to

not – to ensure that those student do not end up in a classroom where the professor

says that she will continue doing as she has done.” 29

           Dr. Buchanan’s behavior clearly offended numerous students. Additionally, Dr.

Buchanan’s behaviors rendered her unable to mentor student teachers in at least four

school systems and put the PK-2 program in jeopardy of losing schools to place

student-teachers. The only reasonable action for Dean Andrew, after the complaints of

students and administrators were verified, was to request a PS-104 committee

determine whether Dr. Buchanan’s behaviors violated LSU’s policies. Once the PS-104

committee determined that Dr. Buchanan’s behaviors violated LSU’s policies, it was

incumbent upon Chancellor Alexander to take action to protect students.

D.         Plaintiff cannot prove her speech was protected by the First Amendment.




28
     Alexander Depo. p. 37, ll. 8-16, (Exhibit J)
29
     Alexander Depo. p. 37, ll. 23-25 – p. 38, ll. 1-2



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           Dr. Buchanan’s job duties included teaching two courses every semester and

also supervising student teachers in the Pre-Kindergarten through Third Grade

Program. 30 The students’ complaints were solely about Dr. Buchanan’s behaviors while

she was performing her teaching duties. The school administrators’ complaints were

solely about Dr. Buchanan’s behaviors while mentoring LSU students who were doing

student-teaching in elementary schools.

           Plaintiff has cannot demonstrate that her comments outweigh LSU’s interest in

promoting efficiency in the PK-3 program. Accordingly, Dr. Buchanan’s claims should be

dismissed with prejudice.

E.         Plaintiff cannot prove she was denied due process.

           The Chair of the PS-104 Committee testified that he followed the procedures

outlined in the Provost’s letter including, “organizing the proceeding, arranging a pre-

hearing meeting to discuss the procedure and deadlines with the parties, as well as

other related matters.” 31 Dr. Buchanan confirmed that she received notices regarding

pre-hearing meetings and participated in the hearing. Additionally, Dr. Buchanan

testified that all witnesses she requested attended the hearing and testified and she was

given the opportunity to cross examine the University Presenter’s witnesses.

Additionally, Dr. Buchanan’s testimony confirms that she appealed to Chancellor

Alexander and although her appeal was denied, she corresponded with members of the

Board of Supervisors and provided them with materials she considered relevant.

           Dr. Buchanan cannot show that she was not afforded due process sufficient to

terminate her employment.

30
     Buchanan Depo. p. 37, ll. 3-6, (Exhibit K)
31
     Stickle Depo., p. 58, ll. 6-25 and Exhibit 24, (Exhibit L)




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                                      CONCLUSION

       Plaintiff cannot prove Defendants are liable for the actions of the Board of

Supervisors. Plaintiff cannot prove her First Amendment or Fourteenth Amendment

rights were violated and therefore, has no claim pursuant to 42 U.S.C. §1983 arising out

of her dismissal by the Board of Supervisors against the named Defendants. Further,

Plaintiff cannot prove she has standing to assert claims pursuant to 28 U.S.C. §2201 or

28 U.S.C. §2202 arising out of her dismissal by the Board of Supervisors against the

named Defendants. Plaintiff cannot establish any claim which is not barred by sovereign

immunity or qualified immunity or is time-barred.

       For the foregoing reasons, F. King Alexander, Damon Andrew, A.G. Monaco and

Gaston Reinoso urge this Honorable Court to enter summary judgment pursuant to Fed.

R. Civ. P. 56, dismissing Plaintiff’s Complaint with prejudice at Plaintiff’s cost and

awarding a reasonable attorney’s fee for the defense of any claims dismissed pursuant

to this motion.

                                                  Respectfully submitted:

                                                  JEFF LANDRY
                                                  Attorney General
                                            By:    /s/ Sheri M. Morris
     CERTIFICATE OF SERVICE                       Sheri M. Morris, LA Bar No. 20937
     I hereby certify that a copy of the          Carlton “Trey” Jones, III, LA Bar No. 25732
above and foregoing has been served               ROEDEL, PARSONS, KOCH, BLACHE,
upon all counsel via the Court’s                     BALHOFF & McCOLLISTER
electronic filing system on this 7th day          8440 Jefferson Highway, Suite 301
of April 2017.                                    Baton Rouge, LA 70809
                                                  Phone: (225)929-7033 Fax: (225)928-4925
                                                  Emails: SMorris@RoedelParsons.com and
                                                          CJones@RoedelParsons.com
       /s/ Sheri M. Morris                         Special Assistant Attorneys General




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